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 1
 2                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
 3
 4
                                                            )      Case No: 3:19-cv-00661-LRH-WGC
 5   GREAT BASIN RESOURCE WATCH; et al.,                    )
                                                            )
 6                          Plaintiffs,                     )      ORDER GRANTING FIRST
 7                                                          )      STIPULATED REQUEST TO
     vs.                                                    )      EXTEND TIME TO FILE
 8                                                          )      RESPONSES AND MOTIONS
     UNITED STATES DEPARTMENT OF THE                        )
 9   INTERIOR; et al.,                                      )
10                                                          )
                            Defendants.                     )
11                                                          )
     EUREKA MOLY, LLC,                                      )
12                                                          )
13                Defendant-Intervenor.                     )
                                                            )
14
             Pursuant to LR IA 6-1, the Parties, Federal Defendants U.S. Bureau of Land
15
16   Management, et al. (“Federal Defendants”), Plaintiffs Great Basin Resource Watch, et al.

17   (GBRW), and Defendant-Intervenor Eureka Moly, LLC (EML) stipulate to a 10-day extension of
18   time to respond to Plaintiffs Motion for Summary Judgment (ECF #57). The deadline to respond
19
     is currently December 10, 2021(ECF # 55). Counsel for Federal Defendants is on unexpected
20
     medical leave and thus, requests this additional time to respond. This is the first stipulation for an
21
22   extension of time to file motions. The Parties and potential amici curiae America Exploration &

23   Mining Association (AEMA) conferred and agree to the following schedule to govern the
24   resolution of this case:
25
                                          Proposed Case Schedule
26
      Federal Defendants and EML file their respective cross-motions for           December 20, 2021
27    summary judgment.                                                            (40 pages each)
28
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 1       After seeking leave to file, America Exploration & Mining Association   January 10, 2022
 2       (AEMA) may file an amicus brief 1                                       (20 pages)

 3       GBRW files one consolidated reply in support of motion for summary      February 11, 2022
         judgment and in opposition to Federal Defendants and EML’s cross-       (50 pages combined)
 4
         motions for summary judgment.
 5
         Federal Defendants and EML file their respective reply briefs in        March 11, 2022
 6       support of their cross-motions for summary judgment                     (20 pages each)
 7
 8
 9
     Respectfully submitted this 15th day of November, 2021.
10
11                                           TODD KIM
                                             Assistant Attorney General
12
                                             /s/ Leilani Doktor
13
                                             LEILANI DOKTOR
14                                           United States Department of Justice
                                             Environment & Natural Resources Division, Natural
15                                           Resources Section
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16
                                             Washington, D.C., 20044-7611
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18
                                             Attorneys for Federal Defendants
19
20                                           /s/Roger Flynn
                                             Roger Flynn, (Colo. Bar # 21078), Pro Hac Vice
21                                           Jeffrey C. Parsons, (Colo. Bar # 30210), Pro Hac Vice
                                             WESTERN MINING ACTION PROJECT
22
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24                                           wmap@igc.org
25
                                             Julie Cavanaugh-Bill, Nevada Bar # 11533
26                                           CAVANAUGH-BILL LAW OFFICES, LLC
                                             401 Railroad St., Ste. 307
27
     1
       AEMA Counsel, Laura Granier, has agreed that AEMA plans to seek leave to file an amicus brief
28   limited to twenty pages by the date of January 10, 2022.


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 3
                                           Attorneys for Plaintiffs
 4
 5                                         /s/ Jim Butler
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10
11                                         Attorneys for Eureka Moly, LLC

12                                         Certificate of Service
13   I, Leilani Doktor, attest that on this 15th day of November, 2021, I served this document to all
14   counsel by filing it with this Court’s ECF filing system.

15   /s/ Leilani Doktor
16
17
     IT IS SO ORDERED
18
     ________________________________                                    _____________
19   LARRY R. HICKS                                                      Date November 22, 2021
20   United States District Judge

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